                 Case 3:11-mc-00676 Document 4 Filed 05/27/11 PageID.5 Page 1 of 1
UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF CALIFORNIA

       OFFICE OF THE CLERK
   880 FRONT STREET, SUITE 4290
 SAN DIEGO. CALIFORNIA 92101-8900

          OFFICIAL BUSINESS
         ".'.

                                                       f"""
                                                       f M;QIY 2 7                 2..0//
                                                       tH.           _,
                                                   (:~. ,,:~if'f~ .~')~~, .J~~'~
                                                ;::;:e~mi1iJ' :~i,:~'''.~/''




                Donald. Alan ·Yate$                                                              NXXXE             3e~         DE   ~            00 05/24
                FCI Forrest City Camp                                                                        RETURN ,.0 SENOER
                                                                                                       NOT eEl.:t '1ERAB1...E A$ AOORESSEC
                POBox 8000                                                                                       UNAti1...E TO FORWARC
                P"M'Pot   r't"   A 1) 7"'l'l~                                                    Bel    Siil2:10:1eSiilfC9S5            *;124"'-040.~0·-~4

                                                                    s.alAaI"l'fiiiliiltta   7:     IhIWII,}, lllll! IlIIU 11111\,1,1,11,1,1 hIII 111",1 ,J 111l!,1
